
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-03-00116-CV


______________________________








IN THE INTEREST OF J.A.H., A CHILD








                                              


On Appeal from the 402nd Judicial District Court


Wood County, Texas


Trial Court No. 99037




                                                 




Before Morriss, C.J., Ross and Carter, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Gary York has filed a motion asking this Court to dismiss his appeal.  Pursuant to Tex. R.
App. P. 42.1, his motion is granted.

	We dismiss the appeal.



							Josh R. Morriss, III

							Chief Justice


Date Submitted:	September 23, 2003

Date Decided:		September 24, 2003




ew Roman"&gt;Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley








MEMORANDUM OPINION



	Coy Lynn Owens has been before this Court several times, and now has filed a petition
asking this Court to issue a writ of prohibition against 62nd Judicial District Judge Scott McDowell
that would prevent him from proceeding to hear Owens's bill of review while acting as the judge of
the County Court at Law of Hopkins County. 

	Owens argues that Judge McDowell has no jurisdiction to act over his pleading and that we
should thus issue a writ of prohibition to prevent him from proceeding with the hearing on Owens's
bill of review.

	A writ of prohibition is a creature of limited purpose.  It may issue to prevent interference
with higher courts in deciding a pending appeal, prevent inferior courts from entertaining suits which
will relitigate controversies which have already been settled by the issuing court, and prohibit a trial
court's action when it affirmatively appears that the court lacks jurisdiction.  Tex. Capital
Bank-Westwood v. Johnson, 864 S.W.2d 186 (Tex. App.--Texarkana 1993, orig. proceeding);
McClelland v. Partida, 818 S.W.2d 453 (Tex. App.--Corpus Christi 1991, orig. proceeding).

	Owens seeks to invoke the application of this remedy which provides that a writ of
prohibition is proper to prevent a trial court from acting when the court lacks jurisdiction.  See Bd.
of Disciplinary Appeals v. McFall, 888 S.W.2d 471, 472 (Tex. 1994) (orig. proceeding).  To
accomplish this purpose, Owens asks this Court to restrain Judge McDowell from hearing his bill
of review in the County Court at Law and to further declare void his order setting the case for
hearing.  

	We first recognize that the statutory authority for creation of the County Court at Law in
Hopkins County explicitly states that the court has jurisdiction concurrent with that provided for the
district court, but limited to civil cases in which the amount in controversy is below $100,000.00. 
See Tex. Gov't Code Ann. §§ 25.1141-.1142 (Vernon 2004). 

	The docket sheet for this case which was provided by Owens as an attachment to his petition
states that the County Court at Law transferred the case to the District Court because the relief sought
exceeded the jurisdictional limits of the County Court at Law. 

	Section 74.121(b)(1) of the Texas Government Code provides that

	The judge of a statutory county court may transfer a case to the docket of the district
court, except that a case may not be transferred without the consent of the judge of
the court to which it is being transferred and may not be transferred unless it is within
the jurisdiction of the court to which it is transferred.


Tex. Gov't Code Ann. § 74.121(b)(1) (Vernon 2005).

	The information provided thus shows that the case was transferred to the District Court, and
the order setting the date for hearing was signed by the district judge.  The fact that on the documents
provided to this Court by Owens, the original docket number and court description still appear does
not conclusively show this Court that Judge McDowell is without jurisdiction to hear this case.  (1) 

	We deny the petition.




						Bailey C. Moseley

						Justice


Date Submitted:	September 23, 2008

Date Decided:		September 24, 2008


1. We also note that the writ issues only to prevent the threatened commission of a future act. 
State ex rel. Rodriguez v. Onion, 741 S.W.2d 433, 435 (Tex. Crim. App. 1987), which would prevent
the application of the remedy to the hearing already set by the court in any event.

